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Prob12B                     UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

      PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                   WITH CONSENT OF THE OFFENDER
                           (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                        JON JON VANCE MCDADE

Docket Number:                        1:10CR00398-02

Offender Address:                     Fresno, California

Judicial Officer:                     Anthony W. Ishii
                                      Senior United States District Judge
                                      Fresno, California

Original Sentence Date:               01/27/2014

Original Offense:                     18 USC 1344, Bank Fraud (CLASS B FELONY)

Original Sentence:                    1 day, credit for time served; 60 months supervised release;
                                      $100 special assessment; and $1,443,826 restitution

Special Conditions:                   1) Search, 2) 12 months location monitoring; 3) Not
                                      dissipate assess; 4) Financial access; 5) Financial
                                      restrictions; 6) Aftercare co-payment; and 7) Notify
                                      attorneys if transfer of jurisdiction is requested

Type of Supervision:                  Supervised release

Supervision Commenced:                01/27/2014

Assistant U.S. Attorney:              Christopher D. Baker Telephone: (559) 497- 4000

Defense Attorney:                     Eric K. Fogderude          Telephone: (559) 431-9710

Other Court Action:                   None




                               PETITIONING THE COURT
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To modify the conditions of supervision as follows:

       1.      The defendant shall participate in a program of mental health aftercare at
               the direction of the probation officer. The court may order that the
               defendant contribute to the cost of services rendered (copayment) in an
               amount to be determined by the probation officer based on the defendant’s
               ability to pay.

Justification: The offender is currently being supervised by the Oklahoma Western Probation
Office. According to his probation officer in Oklahoma, the offender is currently suffering from
depression and anxiety. He is currently engaged in treatment for these mental health issues and
the probation office is requesting the above modification to monitor his progress, and to ensure
continuity of treatment should the need arise for a referral to a different treatment provider. It is
noted the offender has signed a Probation 49 - Waiver, agreeing to this modification.



                                      Respectfully submitted,

                                      /s/ Tim D. Mechem
                                      TIM D. MECHEM
                          Supervising United States Probation Officer
                                  Telephone: (559) 499-5731


DATED:         March 13, 2014
               Fresno, California


REVIEWED BY:            /s/ Hubert J. Alvarez
                       HUBERT J. ALVAREZ
                       Supervising United States Probation Officer
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THE COURT ORDERS:

(X)    Modification approved as recommended.

( )    Modification not approved at this time. Probation Officer to contact Court.

( )    Other:



IT IS SO ORDERED.

Dated: March 17, 2014
                                           SENIOR DISTRICT JUDGE
